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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JANET HOYT,

Plaintiff,                                        Case No. 6:22-cv-325

                                                  INJUNCTIVE RELIEF SOUGHT

v.

SKYLINE HOTELS, LLC,

        Defendant.

____________________________________/

           JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE


      Plaintiff, JANET HOYT, (“Plaintiff”), and Defendant, SKYLINE HOTELS, LLC.,

(“Defendant”) (collectively, the “Parties”), by and through undersigned counsel, and

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby STIPULATE AND

AGREE that this matter has been settled and to the immediate dismissal of this action

with prejudice, with each party to bear its own attorney’s fees and costs.


      STIPULATED AND AGREED by Counsel for the Parties on the dates below

written.


Dated June 1st, 2022


                           CERTIFICATION OF CONFERRAL

All parties certify that they are in agreement with the relief stated above

                                                  Respectfully Submitted,
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/s/ Jonathan Arias                              /s/ Ariel Lett
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                              CERTIFICATE OF SERVICE
HEREBY CERTIFY that on this 1st day of June, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day on all counsel of record or pro se parties identified on

the Service List below in the manner specified, either via transmission of Notices of

Electronic Filing generated by CM/ECF or in some other authorized manner for those

counsel or parties who are not authorized to receive electronically Notices of Electronic

Filing.


/s/ Jonathan Arias                              /s/ Ariel Lett
Jonathan Arias                                  Ariel Lett
Florida Bar No. 126137                          Florida Bar No. 115513
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